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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CAROLYN GARDNER                                : CIVIL ACTION
                                               :
               v.                              : NO. 22-1034
                                               :
KUTZTOWN UNIVERSITY, et al.                    :



                                          ORDER

              AND NOW, this 22nd day of August, 2022, upon consideration of Plaintiff’s

Motion for a Temporary Restraining Order pursuant to Rule 65 of the Federal Rules of

Civil Procedure and Defendants’ response thereto, and after hearing telephonic

argument from counsel on August 18, 2022, it is hereby ORDERED and DECREED that

Plaintiff’s Motion [Doc. 16] is DENIED.

       Courts apply one standard when considering whether to issue interim injunctive

relief, regardless of whether a petitioner requests a temporary restraining order (“TRO”)

or preliminary injunction. See Ellakkany v. Common Pleas Court of Montgomery Cnty.,

658 Fed.Appx. 25, 27 (3d Cir. 2016) (applying one standard to a motion for both a TRO

and preliminary injunction). A TRO is usually used as a means of preserving the status

quo. Hope v. Warden York County Prison, 956 F. 3d 156, 160 (3d Cir. 2020). A

“[p]reliminary injuncti[on] ... is an ‘extraordinary remedy, which should be granted only in

limited circumstances.’” Ferring Pharms., Inc. v. Watson Pharms., Inc., 765 F.3d 205,

210 (3d Cir. 2014) (quoting Novartis Consumer Health, Inc. v. Johnson & Johnson-

Merck Consumer Pharms. Co., 290 F.3d 578, 586 (3d Cir. 2002)). Plaintiff bears the

burden of establishing she is “likely to succeed on the merits ...[,] likely to suffer
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irreparable harm in the absence of preliminary relief, that the balance of equities tips in

[its] favor, and that an injunction is in the public interest.” Winter v. NRDC, Inc., 555 U.S.

7, 20 (2008) (citations omitted).

       The first two factors are “gateway factors” and are “most critical.” Reilly v. City of

Harrisburg, 858 F.3d 173, 179 (3d Cir. 2017), as amended (June 26, 2017). If these

gateway factors are met, a court then considers the remaining two factors. Id. “A

plaintiff's failure to establish any element in [its] favor renders a preliminary injunction

inappropriate.” Nutrasweet Co. v. VitMar Enters., 176 F.3d 151, 153 (3d Cir. 1999).

       To succeed on her Motion, Plaintiff “must demonstrate...the probability of

irreparable harm if relief is not granted.” Frank's GMC Truck Center, Inc. v. General

Motors Corp., 847 F.2d 100, 102 (3d Cir. 1988) (internal quotations omitted). “In order to

demonstrate irreparable harm the plaintiff must demonstrate potential harm which

cannot be redressed by a legal or an equitable remedy following a

trial”...the temporary restraining order...“must be the only way of protecting the plaintiff

from harm.” Instant Air Freight Co. v. C.F. Air Freight, Inc., 882 F.2d 797, 801 (3d Cir.

1989). The moving party must demonstrate that it is likely to suffer “actual or imminent

harm which cannot otherwise be compensated by money damages,” or it “fail[s] to

sustain its substantial burden of showing irreparable harm.” Frank's GMC, 847 F.2d at

103. The mere risk of injury is insufficient. The moving party must establish that the

harm is imminent and probable. Anderson v. Davila, 125 F.3d 148, 164 (3d Cir. 1997).

Additionally, “a showing of irreparable harm is insufficient if the harm will occur only in

the indefinite future. Rather, the moving party must make a clear showing of immediate

irreparable harm.” Campbell Soup Co. v. ConAgra, Inc., 977 F.2d 86, 91 (3d Cir. 1992).
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        Plaintiff, a tenured professor at Kutztown University’s Business School who

alleges she has been placed by doctors on a long-term course of chemotherapy and

other immune suppressing drugs to prevent further vision loss, rendering her at high-

risk for Covid-19 if she teaches four classes in person, has not demonstrated

irreparable harm. 1 She is not, as she claims, faced with a Hobson’s choice of choosing

between unemployment or risking physical harm or death. Defendant is permitting

Plaintiff to stay at home and use her accrued paid leave during the Fall semester while

this matter is litigated. During this period, Plaintiff is not facing the imminent loss of any

health care benefits. If she is successful in this action, Plaintiff may seek reinstatement,

back pay, the return of her paid leave, and the value of any other lost benefits or

earnings.

        Plaintiff’s argument that she will suffer irreparable harm in the absence of a TRO

is further undermined by the fact she did not file her motion for a TRO until exactly five

months (August 17, 2022) after she filed her Complaint in this matter (March 17, 2022)

and just 12 days before the Fall semester is scheduled to commence on August 29,

2022.

                                                       BY THE COURT:




                                                      /s/ Jeffrey L. Schmehl
                                                      JEFFREY L. SCHMEHL, J.



1 As it stands now, Plaintiff is scheduled to teach four classes in person for the Fall semester. The Court
notes that granting the TRO and directing the Defendants to permit Plaintiff to teach all four classes
remotely would not simply preserve the status quo but instead mandate affirmative relief in the form of
changes to Plaintiff’s current conditions of employment.
